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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Michael Mayo
                             Plaintiff,
v.                                                   Case No.: 1:21−cv−05014
                                                     Honorable John J. Tharp Jr.
Tom Dart, et al.
                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 6, 2023:


        MINUTE entry before the Honorable M. David Weisman: On the Court's own
motion, the status hearing scheduled for 9/6/23 is stricken and reset for 9/19/23 at 9:15
a.m. Defense counsel shall make arrangements for Plaintiff to be available by phone and
MUST e−mail the contact information to Chambers at least three days prior to the hearing
at Weisman_Chambers@ilnd.uscourts.gov. Parties shall dial in using the Court's
conference call−in number. The conference call− in number is 1−877−411−9748 and the
passcode is 1814539. Persons granted remote access to proceedings are reminded of the
general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice (ao, )




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